Case 1:23-mi-99999-UNA Document 2907-10 Filed 09/08/23 Page 1 of1

11/27/2822 14:07 584-227-1368 JPSO NCIC PAGE 91/02

EXTRADITION / PUGITIVE SECTION

DATE: 1172772022

70; DEKAL@ COUNTY SHERIFF OFFICE
FROM:
NUMBER OF PAGES _TOTAL 2

TE..ECOPY PHONE NUMBER 309.376-258)
TP YOU BAVE ANY PROBLEMS RECEIVING, PLEASE CALL £9g.340-9663

REF: REID, RANDAL B/D

PLEASE PLACE A HOLD ON THIS SUBJECT

SUBJECT IS WANTED FOR THE FOLLOWING CRIME:
CASE: ¥-21850-22

CHARGE: RS14:7.1 © (10 COUNTS) BANK FRAUD
CHARGE: RS14:67.16C(13) (10 COUNTS) IDENTITY THEFT
CHARGE: RSi4:67B2 TREFT $5000. BUT LESS THAN 25K

ISSUED: = OF/18/2022
JUDGE: PAUL SCHNEIDER

BOND: *ReeNO BOND*42 OO NOT RELEASE *** HOLD FOR JEFFERSON PARISH*****

PLEASE PLACE 4 HOLD ON THE ABOVE SURIECT FOR THIS DEPARTMENT, WE WILL EXTRADITE ON THIS
MATTER. ADVISE WHEN SUBJECT SIGNS A WAIVER OF EXTRADITION OR If HE REFUSES, WE WILL FROCEED TO

GET A GOVERNORS WARRANT.

CONTACT PERSON: TECH. C. DOUSE-CROCKENS OR DETECTIVE. S.KILLETT
EXTRADITION OFFICER
910 3°” STREET, 3°° FLOOR
GRETNA, LA 70053

PHONE: 504-349-5663 TELETYPE LA0260000
FAX:  504.277-1308

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AT d,

Jefferson Parish Sheriff's Office - 1243 Westhank Expressway - Harvey, LA 70088

Revised: 0/7/27 P a eee

